Case 2:05-cr-20166-.]PI\/| Document 7 Filed 07/11/05 Page 1 of 2 Page|D 7
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Thomas M. Gould M OFTN 95-1200
Clerk of Court rex ' - 951-1250
Jackson 901-427-6556
rex 901-427-9210

DATE= July 11, 2005

NOTICE TO ALL PARTIES

RE: CRIMINAL CASE NO. 2:05cr20166
UNITED STATES OF AMERICA vs. Tangia Walker

RULE 20 (Consent to Transfer of Case for Plea and
Sentence)

XX RULE 40 TRANSFER

Documents, Petition for Removal Hearing, Waiver of Rule 5(c)(3) Hearing,
Order Holding Defendant To Answer And To Appear In District of Prosecution,
Appearance Bond,Order Setting Conditions of Release, Order of Temporary
Detention Pending Hearing, Appointment of Federal Defender Office, and docket
sheet as to the above-named defendant, have been received from the United
States District Court, Eastern District of Michigan. Please refer to document

#6 in the case record.

Sincerely,

Thomas M. Gouldl
Clerk of Court

BY:
ep Cler

cc: Mag. Tu M. Pham
Casemanager

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Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 2:05-CR-20166 Was distributed by faX, mail, or direct printing on
July ]1, 2005 to the parties listed.

 

 

Scott F. Leary

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

